                                                                                  FILED
                                                                         2025 Jun-18 AM 08:32
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

LAKEISHA EZELL as                           )
Representative of the Estate of             )
Terrence Andrews,                           )
                                            )
      Plaintiff,                            )   Case No.
                                            )   4:20-cv-2058-ACA
v.                                          )
                                            )
JEFFERSON DUNN, et al.,                     )
                                            )
      Defendants.                           )
                                            )


LORI GUY WILLS, as                          )
Administrator of the Estate of Steven       )
Mullins,                                    )
                                            )
      Plaintiff,                            )   Case No.
                                            )   4:21-cv-0264-ACA
v.                                          )
                                            )
JEFFERSON DUNN, et al.,                     )
                                            )
      Defendants.                           )
                                            )


                        NOTICE OF APPEARANCE


      Jerome C. Chapman IV hereby files this Limited Notice of Appearance to

represent William R. Lunsford, Matthew B. Reeves, Daniel J. Chism, William J.



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Cranford, III, and Kenneth Steely, in Response to the Order to Show Cause. It is

respectfully requested that he be listed as a lead/notice attorney for these individuals

and that all pleadings, discovery and court filings be served upon the undersigned in

connection with the Order to Show Cause.

                                 Respectfully submitted,

                                 /s/ Jerome C. Chapman IV
                                 GREGORY H. HAWLEY (ASB-8552-L69G)
                                 JEROME C. CHAPMAN IV (ASB-2364-O42H)
                                 Attorneys for the Respondents



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                          CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2025 I have electronically filed the foregoing
as an attachment to the Response to Order to Show Cause with the Clerk of Court
using the CM/ECF System which will serve all attorneys of record, and/or served
the following by U.S. mail, postage prepaid and properly addressed, and/or by
electronic mail:

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                        /s/ Jerome C. Chapman IV
                        Of Counsel




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